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                           STATE OF WYOMING * SECRETARY OF STATE
                                     BUSINESS DIVISION
                          Herschler Bldg East, Ste.100 & 101, Cheyenne, WY 82002-0020
                   Phone: 307-777-7311 · Website: https://sos.wyo.gov · Email: business@wyo.gov

                                                 Filing Information
                  Please note that this form CANNOT be submitted in place of your Annual Report.

Name                Bighorn Investments and Properties, LLC
Filing ID           Redacted
Type                Limited Liability Company                       Status                   Inactive -
                                                                                             Administratively
                                                                                             Dissolved (Tax)

General Information

Old Name                                                            Sub Status               Current
Fictitious Name                                                     Standing - Tax           Delinquent
                                                                    Standing - RA            Good
Sub Type                                                            Standing - Other         Good
Formed in           Wyoming                                         Filing Date              03/06/2017 1:25 PM
Term of Duration    Perpetual                                       Delayed Effective Date   03/07/2017
                                                                    Inactive Date            05/09/2023

Principal Address                                           Mailing Address
915 4TH ST                                                  777 MAIN ST
DOUGLAS, WY 82633                                           STE 2800
                                                            FORT WORTH, TX 79102
Registered Agent Address
URS Agents, LLC
1507 Lampman Ct
Cheyenne, WY 82007

Parties

Type                  Name / Organization / Address
Organizer             Cole Johnson PO Box 1512 Douglas, WY 82633

Notes
Date                 Recorded By                Note




                                                                                                       Page 1 of 3
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Name                Bighorn Investments and Properties, LLC
Filing ID           Redacted
Type                Limited Liability Company                              Status                  Inactive -
                                                                                                   Administratively
                                                                                                   Dissolved (Tax)

Most Recent Annual Report Information
Type               Original                                                                   AR Year      2022
License Tax        $60.00                         AR Exempt        N                          AR ID        07056852
AR Date            2/2/2022 11:41 PM
Web Filed          Y

Officers / Directors

Type                   Name / Organization / Address

Principal Address                                               Mailing Address
915 4TH ST                                                      777 MAIN ST
DOUGLAS, WY 82633                                               STE 2800
                                                                FORT WORTH, TX 79102

Annual Report History

Num               Status           Date           Year            Tax
03276078          Original         01/12/2018     2018            $123.40
04299592          Original         03/04/2019     2019            $170.00
05539652          Original         02/21/2020     2020            $240.20
     Principal Address 1 Changed From: PO Box 1512 To: 915 4th Street
06212398          Original         04/27/2021     2021            $240.20
07056852          Original         02/02/2022     2022            $60.00
     Principal Address 1 Changed From: 915 4th Street To: 915 4TH ST

Amendment History
ID                   Description                                                      Date
2023-004165076 Dissolution / Revocation - Tax                                         05/09/2023
       Filing Status Changed From: Active To: Inactive - Administratively Dissolved (Tax)
       Inactive Date Changed From: No Value To: 05/09/2023
2023-004056201 Delinquency Notice - Tax                                               03/02/2023
2021-003175275 Change of Agent                                                        04/12/2021
       Registered Agent # Changed From: 0192233 To: 0204252
       Registered Agent Organization Name Changed From: No Value To: URS Agents, LLC
       Registered Agent First Name Changed From: Cole To: No Value
                                                                                                             Page 2 of 3
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                                               Filing Information
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Name               Bighorn Investments and Properties, LLC
Filing ID          Redacted
Type               Limited Liability Company                        Status                   Inactive -
                                                                                             Administratively
                                                                                             Dissolved (Tax)

       Registered Agent Last Name Changed From: Johnson To: No Value
       Registered Agent Physical Address 1 Changed From: 1100 West Richards To: 1507 Lampman Ct
       Registered Agent Physical Address 2 Changed From: PO Box 219 To: No Value
       Registered Agent Physical City Changed From: Douglas To: Cheyenne
       Registered Agent Physical County Changed From: Converse To: Laramie
       Registered Agent Physical Postal Code Changed From: 82633 To: 82007
2021-003137089 Delinquency Notice - Tax                                         03/02/2021
2019-002508663 Delinquency Notice - Tax                                         03/02/2019
2017-002033147 RA Name/Address Change                                           03/15/2017
See Filing ID       Initial Filing                                              03/06/2017 effective 03/07/2017




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